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                         AFFIDAVIT IN SUPPORT OF APPLICATION
                      FOR A SEARCH WARRANT FOR US MAIL PARCELS

          Your Affiant, James Ussery, United States Postal Inspector, Washington DC, being

duly sworn, hereby deposes and states as follows:

I.        Subject Parcels.

          1.       This is an Affidavit submitted in support of an Application for a Search Warrant

for three (3) subject US Mail Parcels, hereinafter “Subject Parcels,” or “SP.”       These subject

parcels are currently located at the Washington General Mail Facility, in Washington, DC,

20066. Those subject parcels are specifically identified as follows:

Subject        Express (E) or Priority (P)   From:                      To:
Parcel         and Tracking ID number        Name and Address           Name and Address


1.             (P) 9505 5130 1220 7206       Mr T Jackson               Mr + Mrs Jones
               1053 90                       1016 S Orange St           332 57th St NE
                                             Los Angeles, CA 90016      Washington DC 20019
2.             (P) 9505 5141 0251 7213       Centric Parts              Timothy Tomlinson
               1296 78                       14528 Bonelli St           1840 Ontario Place
                                             City of Industry, CA       Northwest
                                             91746                      English Basement
                                                                        Washington DC 20009
3.             (P) 9505 5138 1282 7213       X PC Zone Computer         Timothy Tomlinson
               1038 86                       +Phone Repair              1840 Ontario Place
                                             2537 W Beverly Blvd        Northwest
                                             #104                       English Basement
                                             Montebello, CA 90640       Washington DC 20009


II.       Affiant’s Training and Experience

          2.       Your Affiant, James Ussery, has been a United States Postal Inspector since July

2014 and has completed 12 weeks of basic investigative training in Potomac, Maryland, which


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included various aspects of federal law enforcement including the investigation of narcotics-

related offenses. Prior to being a United States Postal Inspector, your Affiant was a Federal Air

Marshal for the Federal Air Marshal Service for 5 years, between 2010 and 2014. Prior to being

a Federal Air Marshal, your Affiant was a Police Officer with the city of Atlanta between 2006

and 2010. Your affiant has participated in investigations involving possession with intent to

distribute and distribution of controlled substances. Your affiant has participated in interdictions,

control deliveries, seizures, and search warrants which resulted in criminal arrest and

prosecution. As a result of your Affiant’s training and experience, your Affiant is aware that

Priority Mail Express and Priority Mail services are regularly used by narcotic traffickers to ship

controlled substances and bulk cash through the US Mail.

       3.       Based upon my training and experience in the field of narcotic interdiction

through the mails, I know that there are suspicious characteristics common to many packages

that contain narcotics, controlled substances or the proceeds thereof (i.e. US currency). These

factors, more fully detailed below, are used to identify packages requiring further investigation.

In the case of this search warrant, several of these factors were identified for the three (3)

packages, and the packages were alerted to by the drug detection canine. The most common

factors or suspicious characteristics routinely observed in the course of screening packages are as

follows:

              a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight. (That deadline is determined at the time of mailing.) The customer

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receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed. Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the

counter by using cash or a credit card. Business Priority Mail Express parcels typically weigh no

more than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds.

Drug packages typically exceed these weights. Address labels on business parcels are typically

typed, whereas those on drug packages are typically hand written. In your affiant’s experience, it

is fairly easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail

Express and Priority Mail parcels, from other, heavier parcels. Typically, drug traffickers use

Priority Mail Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back.         To distance themselves from parcels

containing drugs, often the return addresses and the names of senders are fictitious or false. A

fictitious or false address is anything from an incorrect zip code, to a non-existent house number

or street. The name of the sender is also typically invalid in one of several ways. Your affiant

has seen packages sent by persons with names of celebrities, cartoon characters, or fictional



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names. More often a search of a law enforcement database reflects that there is no association

between the name of the sender and the address provided.

               c.      Invalid Recipient/Address:      It would be counter-productive to put the

wrong receiving address on a package, but often the named recipient is not actually associated

with the receiving address. This allows the person receiving the package to claim that they did

not know about its contents. Sometimes drug packages are addressed to vacant properties with

the expectation that the postal carrier will just leave it at the address. The intended recipient will

then retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics

source states such as Arizona, California, Texas, Nevada, Washington, Colorado, Puerto Rico

and Florida (among others, including countries such as China, Netherlands, and various African

nations) can also indicate that the parcel contains controlled substances.

               e.      Smell:    The odor of cocaine, marijuana, and methamphetamine are

distinct, and through experience postal inspectors are familiar with these odors. On occasion, a

parcel will emit an odor that is easily recognized without the assistance of a canine. Other smells

that suggest that a parcel may contain narcotics include the aroma of masking agents. Common

masking agents used in an attempt to thwart detection by law enforcement and canines typically

include dryer sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and

to forestall easy checking on the interior contents by lifting up a flap. For this reason, your

affiant has also observed excessive glue on the flaps of narcotics parcels as well.



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               g.     Click-N-Ship: The US Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than

California and Arizona as a means to deter detection, as these other states are not usually

considered “source” states for controlled substances. The postage labels are printed/typed,

unlike the typical drug related mailing label which is handwritten.

       4.      It is your affiant’s experience that when these factors are observed, a drug

detection K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the

presence of narcotics. As a result, these factors become a reliable way to profile the parcels

being shipped every day.

       5.      The facts contained in this affidavit are based on my personal knowledge as well

as that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made

known to agents of the government. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant, and does not set forth all of my knowledge

about this matter.

III.   Probable Cause

       6.      The following factors or suspicious characteristics are present in each of the

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subject parcels:

Subject        From            Weight:           Label:          Senders        Recipients Canine Alert?
Parcel         Source                                            name           name
Express or     State:                                            associated     associated
Priority                                                         with           with
                                                                 address?       address?
                                                                 Yes / No       Yes / No
                                 16 lbs 7.6
1. Priority     Yes - CA                         Handwritten No/invalid              No              Max
                                    ozs
                                 21 lbs 8.6
2. Priority     Yes - CA                         Handwritten         Yes             No              Max
                                    ozs
                                 11 lbs 1.2
3. Priority     Yes - CA                         Handwritten         Yes             No              Max
                                    ozs



        7.       The suspicious characteristics listed above were identified while the subject

parcels were in the mail stream, including the use of law enforcement and other databases to

make determinations about associations between senders/recipients and the addresses listed on

the parcels.   Therefore on August 3, 2017 these parcels were individually removed from the

mail stream and law enforcement used standard protocol for canine detection to determine

whether there was probable cause that the subject parcel contained narcotics. After being

removed from the mail stream, the subject parcels were individually placed in a secure area next

to several other empty and unused boxes at the Washington General Mail Facility, in

Washington, DC. At that time, narcotic detection canine, Max,1 was brought forward to scan the

group of boxes, which included the individual subject parcel and the empty and unused boxes

placed around the subject parcel. The handler, Detective Vincent Witkowski (Metropolitan


         1
           “Max” was most recently certified in July of 2017 to alert on odors of marijuana (THC), cocaine,
“crack” cocaine, heroin, ecstasy (MDMA) and methamphetamine and is trained to ensure his accuracy. Detective
Vincent Witkowski, Metropolitan Police Department is the handler for “Max.”


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Police Department) observed the canine and then informed agents whether the dog alerted on the

subject parcel. This process was repeated for each and every subject parcel listed above. As

indicated in the chart, the drug detection dog alerted to the presence of narcotics in the subject

parcel each and every time.

VI. Conclusion

       8.      Your affiant submits that based upon the above indicators reflected in the three

(3) parcels described herein, based upon my training and experience, and based upon the alert of

a trained canine on each package, I believe there is probable cause that each of the above-

described subject parcels contain narcotics or controlled substances.



                                              ___________________________
                                              James Ussery
                                              United States Postal Inspector


       Subscribed and sworn to before me this _____ day of August, 2017.


                                              _____________________________
                                              Deborah A. Robinson
                                              United States Magistrate Judge




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